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 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:15-cr-00286-DAD-BAM
12                                 Plaintiff,              STIPULATION REGARDING
                                                           CONTINUANCE; ORDER
13             v.
     ZAID ELODAT,
14
                                   Defendant.
15

16
                                                STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18

19 and through his counsel of record, hereby stipulate as follows:
20          1.     By previous order, this matter was set for sentencing on Monday, December 16,

21                 2019, at 10:00 a.m.
22          2.     Defense counsel advised today that his doctor scheduled him for a surgical procedure
23
                   on that date.
24
            3.     By this stipulation, the parties now move to continue the matter to Monday, April 6,
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                   2020, at 10:00 a.m.
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27          3.     The parties further stipulate to the following schedule:

28          Informal Objections Due:                                           March 9, 2019
                                                       1
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            Final PSR Filed with the Court:                                     March 16, 2020
 1
            Formal Objections to PSR/Sentencing Memo due:                       March 23, 2020
 2

 3          Responses to Formal Objections/Reply to Sentencing Memo:            March 30, 2030

 4          IT IS SO STIPULATED.
 5
     DATED:        October 28, 2019       Respectfully submitted,
 6
                                          McGREGOR W. SCOTT
 7                                        United States Attorney
 8
                                          /s/ Karen A. Escobar
 9                                        KAREN A. ESCOBAR
                                          Assistant United States Attorney
10

11 DATED:          October 28, 2019
12                                        /s/ Edward Robinson
                                          EDWARD ROBINSON
13                                        Counsel for Defendant
                                          Zaid Elodat
14

15
                                                 ORDER
16

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18          The court has reviewed and considered the stipulation of the parties to continue the
19 sentencing in this case. Good cause appearing, the sentencing hearing as to the above-named
20 defendant currently scheduled for December 16, 2019, is continued to April 6, 2020, at 10:00 a.m.

21 IT IS SO ORDERED.

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        Dated:    October 28, 2019
23                                                    UNITED STATES DISTRICT JUDGE

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